Case 2:04-cr-20425-.]DB Document 72 Filed 07/07/05 Page 1 of 5 PageiD 69

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.v- 2:04cR20425-02-B lth dr attale

KENDR|CK DiLLON KlRBY
Arthur E. Quinn, CJA
Defense Attorney
1661 international P|ace Dr., Ste 300
Memphis, TN 38120

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987}

The defendant pleaded guilty to Count 1 of the indictment on iViarch 30, 2005. Accordingiy,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tit|e & Section M§Mll$_e_ Offense Numberjsj
Conciuded
21 U.S.C. § 846 Conspiracy to Possess with intent to 09/16)'2004 1

Distribute Contro||ed Substance

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count 2 is dismissed on the motion of the United States.

|T iS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until a|| fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 7/5/1979 Juiy 06, 2005
Deft’s U.S. iViarshai No.: 19884-076

Defendant’s Maiiing Address:
293 North Wiiiet Street
Memphis, TN 38112

 

J. DANiEL BR'EEN
U |TED STATES D|STR|CT JUDGE
Thls document entered 0

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wrth Ruie 55 and/m 32( K€I Sneet in garr,pj,]aun|¥___e (4 , 2005

b) FRCrP gm ., _, @

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Case No: 2:04CR20425-02-B Defendant Name: Kendnci< Di||on KlRBY Page 2 of4
|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 18 Months.

The Court recommends to the Bureau of Prisons:

- P|acement as close to i\/iemphis, Tennessee, as possibie, that will allow for
i\/ientai Heaith Counse|ing.

The defendant is remanded to the custody of the United States i\/iarshai.

RETURN

i have executed this judgment as foliows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. i\/|arshai

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Case No: 2:04CR20425-02-B Defendant Name: Kendrick Diiion KlRBY Page 3 of4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDITIONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled su bstance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed , or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation oft"lcer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:04CR20425-02-B Defendant Name: Kendrici< Di|lon KlRB\’ Page 4 of4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. lf thisjudgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1) Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

2) Cooperate with DNA collection as directed by the Probation Ocher.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythefo|lowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Specia| Assessment shall be due immediately

F|NE
No fine imposed

REST|TUT|ON
No Restitution was ordered

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:04-CR-20425 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

Stephen R. Leftier
LEFFLER LAW OFFICE
707 Adams Ave.
Memphis7 TN 38105

Arthur E. Quinn

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

Memphis7 TN 38120

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

